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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                     )
UNITED STATES OF AMERICA, et al.                     )
                                                     )
        Plaintiffs,                                  )
                                                     )
        v.                                           )       Case No. 1:18-cv-02340-RJL
                                                     )
CVS HEALTH CORPORATION                               )
                                                     )
and                                                  )
                                                     )
AETNA INC.                                           )
                                                     )
        Defendants.                                  )
                                                     )


        AMICUS CURIAE AMERICAN MEDICAL ASSOCIATION’S RESPONSE
            TO THE SUPPLEMENT TO THE UNITED STATES’ MOTION
             TO PRESENT REBUTTAL TESTIMONY AND EVIDENCE

        In its supplement to its Motion to Present Rebuttal Testimony, the United States criticizes

the American Medical Association for using 2018 data instead of 2019 data when calculating

WellCare’s growth. [Dkt. # 126 at 1–2.] The United States has also criticized the AMA’s

calculations of market concentration for “contain[ing] basic errors regarding the relevant product

and geographic markets: they inappropriately include employer-sponsored group prescription

drug plans, and in some instances assign market share to plans in regions where the plans are not

offered.” 1 [Dkt. # 119 at 12.]




1
  These criticisms appear to be related; there are regions in which certain PDP sponsors have
enrollees in their group plans, but in which those sponsors do not offer individual plans.
Including those sponsors in the calculations could make it seem as if they participate in the
individual market in regions where they do not do so.
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       In response to the United States’ criticism, the AMA has asked its expert witnesses

Richard Scheffler, Ph.D. 2 and Neeraj Sood, Ph.D. to recalculate the effect of the merger and

divestiture as the United States has advocated: with 2019 data, including only individual PDPs

(not group PDPs). The results are far worse for the United States. The AMA’s previous

calculations showed that the increase in the Herfindahl–Hirschman Index (HHI) would

“potentially raise significant competitive concerns” under the DOJ/FTC Horizontal Merger

Guidelines in seven of the thirty-four PDP regions. [Dkt. # 62 at 6.] There were no regions in

which the merger and divestiture would “be presumed to be likely to enhance market power”

under the Horizontal Merger Guidelines. Using the United States’ methodology, the merger and

divestiture potentially raise significant competitive concerns in thirty of the thirty-four regions,

and would be presumed to be likely to enhance market power in one (Hawaii). See Ex. 1 at 5. A

summary of the results is below:

                                    Previous AMA Calculation          United States’ Methodology
Regions that “potentially raise
significant competitive                  7 (21% of regions)                30 (88% of regions)
concerns”
Regions “presumed to be
likely to enhance market                          0                                  1
power”
“Highly concentrated” regions
                                                  1                                  3
after divestiture
Maximum increase in HHI                          230                                315
Minimum increase in HHI                           13                                 61




2
 Professor Scheffler is a Distinguished Professor of Health Economics and Public Policy at the
School of Public Health and the Goldman School of Public Policy at the University of California,
Berkeley. He is also the Director of UC Berkeley’s Nicholas Petris Center on Healthcare
Markets and Consumer Welfare, and UC Berkeley’s Global Center for Health and Economic
Policy Research. He was assisted on this project by Daniel Arnold, the Research Director of the
Petris Center and a Ph.D. economist with significant experience in antitrust within healthcare
markets.


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The United States bears the burden in this proceeding to “provide a factual basis for concluding

that the settlements are reasonably adequate remedies for the alleged harms.” United States v.

SBC Commc’ns, Inc., 489 F. Supp. 2d 1, 16 (D.D.C. 2007). And the United States has

maintained in this case that “[t]he standard for an acceptable divestiture is that it restore

competition to pre-merger levels.” 3 The United States’ methodology for calculating market

concentration shows that this will not happen: concentration will increase significantly in all but

three of the thirty-four regions, and there is a region in which enhanced market power is

presumed. 4

       Moreover, it is impossible for WellCare to remedy these broad and significant increases

in market concentration by competing aggressively. Using the United States’ preferred

methodology for measuring market concentration, Professor Sood calculated the smallest

possible increase in HHI under the two best possible scenarios for the United States: WellCare

takes as much market share as it wants from CVS, and WellCare takes as much market share as

it wants from any competitor. He then determined the number of regions in which there would

still remain potentially significant competitive concerns or a presumption of enhanced market

power. As summarized below, under the United States’ methodology, the number of regions with

serious competitive problems that WellCare cannot solve is much higher than originally thought:


3
  United States v. CVS and Aetna, Questions and Answers for the General Public,
https://www.justice.gov/opa/press-release/file/1099806/download.
4
  Under the Horizontal Merger Guidelines, the presumption “may be rebutted by persuasive
evidence showing that the merger is unlikely to enhance market power.” The only evidence the
United States has ever offered on this point is that Aetna and WellCare’s combined market share
is below 25 percent in all regions, and all regions have other significant competitors. [Dkt. # 56
at 22–23.] That is not true in 2019 (the year the United States says should be used): Aetna and
WellCare’s combined share of the individual PDP market in Hawaii (in which enhanced market
power is presumed) is 28.8 percent. See Ex. 1 at 7–8 (Region 33). Their combined market share
also exceeds 25 percent in the Mississippi region, where the increase in HHI is 314 points, or
more than triple the amount that would “potentially raise significant competitive concerns.” See
id. at 5, 7–8 (Region 20).


                                                   3
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                                             Previous AMA                     United States’
                                              Calculation                     Methodology
Regions that “potentially raise
significant competitive concerns”           4 (12% of regions)             26 (76% of regions)
(WellCare takes from CVS)
Regions “presumed to be likely to
enhance market power”                                0                               1
(WellCare takes from CVS)
Regions that “potentially raise
significant competitive concerns”           2 (6% of regions)              21 (62% of regions)
(WellCare takes from anyone)
Regions “presumed to be likely to
enhance market power”                                0                               1
(WellCare takes from anyone)

Ex. 2 at 7–8. Thus, in most regions of the country, it is literally impossible for WellCare to

reduce concentration below the Horizontal Merger Guidelines’ threshold of concern—much less

restore competition to premerger levels—through aggressive competition.



                                         CONCLUSION

       Under the United States’ own methodology for calculating market concentration, the

merger and divestiture fail to restore competition to premerger levels in nearly all of the country.

Robust competition from WellCare cannot solve the problem. Entry of the Proposed Final

Judgment should be denied.




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Dated: July 16, 2019                Respectfully submitted,
                                    /s/ Henry C. Quillen
                                    Henry C. Quillen (Bar ID 986686)
                                    WHATLEY KALLAS LLP
                                    159 Middle St., Suite 2C
                                    Portsmouth, NH 03801
                                    Telephone: (603) 294-1591
                                    Fax: (800) 922-4851
                                    hquillen@whatleykallas.com

                                    Henry S. Allen, Jr. (admitted pro hac vice)
                                    Senior Attorney, Advocacy Resource Center
                                    AMERICAN MEDICAL ASSOCIATION
                                    330 N. Wabash
                                    Chicago, IL 60611
                                    Telephone: (312) 464-4271
                                    Fax: (312) 224-6919
                                    henry.allen@ama-assn.org

                                    Counsel for the American Medical Association




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